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                                                                                                   EXHIBIT
                                                                                                          N
                                                                Division of Infectious Diseases
                                                                Department of Medicine

                                                                Mail Stop B168
                                                                12700 E. 19th Avenue | Aurora, CO 80045
                                                                f 303 724 4926
                                                                ucdenver.edu/InfectiousDiseases



                   DECLARATION OF BRIAN MONTAGUE, DO, MS, MPH

   I, Brian Montague, state as follows:

      1. I am an Associate Professor of Infectious Disease at the University of Colorado School of

          Medicine. I hold board certification in Internal Medicine, Clinical Informatics, and

          Infectious Diseases.

      2. I provide inpatient and outpatient clinical consultation in Infectious Disease at the

          University of Colorado Hospital. I have served as a Medical Advisor to Employee Health

          at the University of Colorado Hospital and Medical Director for the Occupational Health

          for the University of Colorado Denver since July of 2017.

      3. I have been a coinvestigator on multiple clinical studies related to SARS-CoV-2 infection

          including serologic screening studies among high-risk first responders and clinical trials

          of the use monoclonal antibodies for prevention.

      4. On June 2, 2021, Chancellor Don Elliman of the University of Colorado’s Anschutz

          Medical Campus decided to enact a campus policy requiring all students, staff, and

          faculty on the Anschutz Medical Campus to be vaccinated against COVID-19. Students,

          staff, and faculty were to be vaccinated against COVID-19 by September 1, 2021, and

          that requirement was communicated multiple times through emails to the entire campus

          community beginning in June.
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      5. As part of my role within the Department of Occupational Health and Safety and

         beginning in June 2021, I started reviewing all requests for medical exemption from the

         COVID-19 vaccination requirement that were submitted by students, staff, and faculty on

         the Anschutz Medical Campus. Based on review of the provided documentation, I consult

         the relevant literature and experts to determine whether the requestor presents evidence of

         having a known medical contraindication to COVID-19 vaccination. This assessment is

         based on the current recommendations from the CDC, FDA, ACIP and other relevant

         expert panels.

      6. Based upon my findings, I make recommendations to either approve or deny requests.

      7. For students, staff, and faculty who present a known contraindication to the vaccine, the

         Anschutz Medical Campus Vaccine Exemption Team works with the relevant

         decisionmaker to perform an analysis, under the Americans with Disabilities Act or

         Section 504 of the Rehabilitation Act, as to whether the University can reasonably

         accommodate the requestor and allow them to continue performing their job duties or

         attend their classes.

      I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

      and correct.

         Executed this __11th__ day of October, 2021.


                                                       _______________________________
                                                       Brian Montague, DO, MS, MPH
